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                              UNITED STATES BANKRUPTCY COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                        Miami Division

IN RE:                                                       CASE NO. 19-17664-LMI

TIMOTHY SALLY                                                CHAPTER 13
SSN: XXX-XX-

     Debtors.
_________________/

         OBJECTION TO MOTION TO VALUE AND DETERMINE SECURED STATUS
                      OF LIEN ON REAL PROPERTY [D.E. 26]


         AMERICAN INVESTMENT SERVICES, LLP. (“Secured Creditor”) by and through

undersigned counsel, files this Objection to the Motion to Value and Determine Secured

Status of Lien on Real Property [D.E. 26] and states as follows:

         1.       On June 10, 2019, Timothy Sally (“Debtor”) commenced this bankruptcy case

              by filing a petition for relief under Chapter 13.

         2.      The Secured Creditor holds a security interest in Debtor’s real property located

              at 1841 N.W. 67th Street, Miami, FL 33147 (the “Property”), by virtue of a

              Mortgage which is recorded in Official Records Book 25199 Page 1653 in the

              official records of Miami Dade County, Florida and re-recorded on January 31,

              2018, in Official Records Book 30848 Page 266, in the Public Records of Miami

              Dade County, Florida.

         3.      Secured Creditor disputes the Debtor’s contention that the fair market value of

              the Property is $105,000.00 and requests an opportunity to conduct its own

              evaluation and appraisal of the Property.

         4.      On August 30, 2019, Secured Creditor, Wells Fargo Bank, N.A. filed its Proof

              of Claim 9 advising it is owed a total of $104,593.64.
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      5.       Secured Creditor requests that the Debtor produce a copy of the good faith

           appraisal exhibiting that the subject property is valued at the amount as alleged by

           the Debtor.

      6.      The Secured creditor reserves the right to supplement this Response at or prior

           to any hearings scheduled on the Motion.

      7.      The Secured Creditor has incurred additional attorney’s fees and costs for

           having to file this response.

              WHEREFORE, Secured Creditor requests that this Court deny the Debtor’s

           Motion, or in the alternative, and for such other and further relief the Court deems

           just and proper.


                               CERTIFICATE OF SERVICE
       I HEREBY CERTIFY that a true and correct copy of the Response to Motion to Value
and Determine Secured Status of Lien on Real Property [D.E. 24] was served electronically
or by mail on Nancy Neidich, Trustee, P.O. Box 279806, Miramar, FL 33027 and Maria
Alvarez, Esq., 4343 West Flagler Street, Miami, FL 33134 on August 30, 2019.

                                                         Respectfully Submitted,
                                                         SABRINA CHASSAGNE, P.A.
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                                                         By: s/Sabrina Chassagne
                                                             Sabrina Chassagne
                                                              Fla Bar No. 60682
